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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                      IN THE UNITED STATES DISTRICT COURT                            August 03, 2016
                                                                                    David J. Bradley, Clerk
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
                                               §
                                               §
VS.                                            §     CRIMINAL ACTION NO. H-10-258-2
                                               §
                                               §
                                               §
JAMES DAVID WRIGHT                             §

                                            ORDER

       Wright’s unopposed motion to travel is granted. (Docket Entry No. 669). He may travel to

Colorado on September 22, 2016 and must return to Houston by September 25, 2016. By

September 20, 2016, he must provide a detailed itinerary to his probation officer, including the

planes, trains, or vehicles he will use and the addresses where he will stay. He must notify the

probation officer of his return by September 26, 2016.

              SIGNED on August 3, 2016, at Houston, Texas.

                                                   ______________________________________
                                                            Lee H. Rosenthal
                                                      United States District Judge
